    Case 16-01114     Doc 19    Filed 08/06/18 Entered 08/06/18 22:54:48           Desc Main
                                  Document     Page 1 of 1


                                  United States Bankruptcy Court
                             Eastern Division, District Of Massachusetts
     In	re	                                       	
                       	                          Docket	No.:	15-13369	
                Andre	Bisasor,	                 	
                       	                          Chapter	13	
                                     Debtor	
     David	G.	Baker,		                            	
                                    Plaintiff,	   ADVERSARY	PROCEEDING	
                         v.	                    	
     Andre	Bisasor,	                              No.		 16-01114	 	      	
                                  Defendant	
	
                                  FURTHER STATUS REPORT

        NOW COMES David G. Baker, plaintiff in the above captioned matter, and for a further
status report, states that it appears that the parties have reach agreement on the language of a
Settlement Agreement. At present I am awaiting a copy of the Agreement with the debtor’s
original signature (or an electronic copy of the same), which I believe is imminent.

     August 6, 2018
                                                Respectfully submitted,

                                                /s/       David G. Baker
                                                David G. Baker, Esq. (BBO # 634889)
                                                236 Huntington Avenue, Ste. 317
                                                Boston, MA 02115
                                                617-340-3680

                                     Certificate of Service

       The undersigned states upon information and belief that the within Status Report will be
served on the persons named below by the Court’s CM/ECF system on the date set forth above.

                                                    /s/ David G. Baker
                                                    David G. Baker, Esq.

Dmitry Lev on behalf of Debtor Andre Bisasor - dlev@levlaw.net, ecf-
notices@levlaw.net
